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                      7    Attorneys for Plaintiffl,
                           ARCHIÞELAGO LIGHTING INC.
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                      9                               LINIITED STATES DISTRICT COURT
                     10                             CENTRAL DISTRICT OF CALIF'ORNIA
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Él    ,¿:                                                                               5:16-cv-02173
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J I a,: >-           I2    ARCHIPELAGO LIGHTING INC.,                       Case No.
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  -,- ß =2Í¡         13                        Plaintiffs,                  COMPLAINT FOR DAMAGES
ð ';:---".                                                                  AND INJUNCTIVB RBLIBF;
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J | ?  t>.           l4               V                                     DEMAND FOR JURY TRIAL
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Z                J
                     15    YANKON LIGHTING, INC.;
Ç)
                           ZHEJIANG YANKON GROIJP CO.,
                     16    LTD.; ENERGETIC LIGHTING, INC.;
                           and Does I through 10, Inclusive,
                     17
                                               Defendants.
                     1B

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                     20               For their Complaint, Plaintiff Archipelago Lighting Inc.   ("ALI"   or

                     2l    "Plaintiff')    aver as follows:

                     22                                       JuRrsucrloN ANn Vnxun
                     ¿\a
                     ¿J               1.    The claims stated below are brought under the Lanham Act 15 U.S.C

                     24    Code $ 1 125. This Court has jurisdiction over these claims pursuant to 2B U.S.C.

                     25    $ 1338(a). Venue in this District is based on 28 u.S.C. Q$ 1391(b), 1391(c),
                     26    1391(d) and 1400(b). Plaintiff and Defendant ENERGETIC LIGHTING INC.'s

                     27    principal place of business are located within this district.

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                                                                                                               COMPLAINT
                           2499t352
                       Case 5:16-cv-02173-JFW-SP Document 1 Filed 10/13/16 Page 2 of 19 Page ID #:2


                        I                                          P¡.Rrrns
                        2         2.     Plaintiff ARCHIPELAGO LIGHTING, INC. ("ALI") is a corporation
                        J   duly organized and existing under the laws of the State of California, with its
                        4   corporate headquarlers and principal place of business within the Central District of
                        5   California at 4615 State Street, Montclair, CA 91763.
                        6

                        7         3.     Plaintiff is informed and believes, and on that basis aver, thaf
                        8   defendant YANKON LIGHTING, INC. ("Yankon Lighting") is a Texas

                        9   corporation with its principal place of business at 1365 N. Glenville Drive,
                       10   Richardson, Texas 7508 I -2414.
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                                  4.     Plaintiff is informed and believes, and on that basis aver,that
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                       13   defendantZÍIEJIANG YANKON GROUP CO., LTD., ("Zhejiang Yankon") is                  a
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J                      T4   Chinese corporation with its principal place of business at No. 485 Fengshan Road,
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                       15   Shao Xing City, Shangyu District, China    ("YANKON LIGHTING, INC. and
                       16   ZHEJIANG YANKON GROIJP CO., LTD collectively "Yankon" andlor
                       t7   collectively "Defendants").
                       1B

                       t9         5,     Plaintiff is informed and believes, and on that basis aver, thaÍ.
                       20   defendant ENERGETIC LIGHTING, INC., ("Energetic Lighting") is a California
                       2l   corporation with its principal place of business at 13445 12tr'Street, Chino,
                       22   California 91710 which is within the Central District of California.
                       ¿)
                       24         6.     Plaintiff is informed and believes, and on that basis aver, thaf Zhejiang
                       25   Yankon, Yankon Lighting and Energetic Lighting ("Defendants") are the
                       26   developer, manufacturer and distributor of all Yankon lighting products.
                       27

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                          Case 5:16-cv-02173-JFW-SP Document 1 Filed 10/13/16 Page 3 of 19 Page ID #:3


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                           J               7   .   Plaintiff is informed and believes, and on the basis of that information
                           4    and belief alleges, that Yankon Lighting and Energetic Lighting are, and at all

                           5    relevant times herein mentioned were, the alter ego of Zhejiang Yankon. lJpon
                           6    further information and belief, Yankon Lighting and Energetic Lighting are, and al
                           7    all relevant times herein mentioned were, a mere shell, instrumentality, and conduit
                           8    through which ZhejiangYankon carried on its business, exercising complete
                           9    control and dominance of such business to such an extent that any individuality or
                          10    separateness of Yankon Lighting Inc., Energetic Lighting andZhejiang Yankon do

                          11    not, and at all relevant times herein mentioned did not, exist.
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                          13               8.      ALI is informed and believes and thereon   alleges that Zhejiang
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J i.-'',.-¡=              I4    Yankon created or acquired, and continues to use Yankon Lighting and Energetic
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                          15    Lighting as instrumentalities to carry outZhejiang Yankon's business activities
                          I6    while shielding it from liability for the actions complained of in this Complaint.
                          17

                          18               9.      ALI is informed and believes and thereon   alleges lhatZhejiang

                          19    Yankon has, and at all tirnes herein mentioned, continues to commingle and fail to
                          20    segregate Yankon Lighting and Energetic Lighting's funds and other assets from its

                          21    own; treat assets nominally belonging to Yankon Lighting and Energetic Lighting
                          22    as its own; and share a unity of ownership, control and management          with Yankon
                          23    Lighting and Energetic Lighting.
                          24

                          25               10.     Accordingly, adherence to the fiction of the separate existence of
                          26    Zhejiang Yankon, Yankon Lighting and Energetic Lighting would, under these
                          27    circumstances, sanction a fraud and/or promote injustice.

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                                2499t352
                                                                              -3 -                               COMPLAINT
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                     1              11   .   The true identities of Does   I-10     are not presently known to plaintiff,

                     2   and so they are sued fictitiously as is permitted under Local Rule 19- 1 .
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                     J

                     4                                              BacrcnouNr
                     5                                      ALI's Design and Packaging
                     6

                     7              12.      ALI   has been in the lighting business for over 10 years, and has its

                     B   own line of products that are similar to Yankon's lighting products,
                     9

                    l0              13.      ALI's products including LED light bulbs, LED tubes, LED fixtures
                    11   and fluorescent fìxtures.
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                    I3              14.      ALI frequently sells to national distributors such as Lowe's,       Home
,d   ç=-V,',
J                   t4   Depot, and other major retailers.
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C)                  r5

                    t6              15.      Beginning mid-2015 ALI was in negotiations with Lowe's for a new
                    T7   line of LED light bulbs.
                    18

                    T9              16.      ALI hired various companies to design         and manufacture the

                    20   packaging, and create the artwork associated with the light bulbs to be sold to
                    21   Lowe's.
                    22

                    23              17.      At the end of the negotiations, Lowe's gave the contract to ALI's
                    24   cornpetitor, Yankon Lighting
                    25

                    26                                            Yankon Lishtins
                    27

                    28              18.      Beginning late-August 2016, ALI started receiving phone calls at its

                         24991352
                                                                            4   -                                COMPLAINT
                        Case 5:16-cv-02173-JFW-SP Document 1 Filed 10/13/16 Page 5 of 19 Page ID #:5


                         I   customer service center wherein customers were complaining about Yankon
                         2   lighting products.
                         a
                         J

                         4              19.   lJpon further investigation, ALI discovered that Yankon is using
                         5   ALI's packaging design and aftwork including ALI's toll free customer service
                         6   number.

                         7

                         B              20.   This use of ALI's design and arlwork is causing consumer confusion
                         9   regarding the source of the goods, as consumers believe they are purchasing ALI's
                        10   lighting products.
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                   il
J          ,.     <"    l2              21.   These calls are extremely disruptive to     ALI's business and are
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                        13   negatively impacting ALI's goodwill and consulrer reputation.
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                        15              22.   In addition to customer service calls from direct purchasers of
C)

                        16   Yankon's products, ALI received phone calls from Lowe's stores complaining
                        t7   about Yankon's product and instructions on usage.

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                        t9              23.   On August25,2016,        ALI   sent a letter to Yankon requesting it to

                        20   cease-and-desist     frorr all sales of products emanating from Yankon using the
                        2l   packaging created by      ALI   bearing   ALI's toll free service number. In addition, ALI
                        22   requested that Yankon remove all such products from the marketplace and contacts

                        23   its customer to whom Yankon has sold such products. ALI also requested that
                        24   Yankon contact its customers to whom Yankon has sold such products to correct
                        25   Yankon's mistake. (A true and comect copy of the August 25,2016letter is
                        26   attached as "Exhibit 1").
                        27

                        28

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                                                                             -5-                                 COMPLAINT
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                  1              24.    On or about August 30,2016, Yankon responded to ALI's demand
                  2   letter and acknowledged their mistake. Although Yankon claimed that they would
                  J   like to work out a solution with ALI, Yankon did nothing to eliminate consumer
                  4   confusion or the harm to      ALI. (A true and correct copy of the August 25,2016
                  5   letter is attached as "Exhibit2").
                  6

                  7              25.   On or about September 14,2016, ALI drafted another letter re-stating
                  I   the list of demand from the August25,2016letter and gave Yankon until
                  9   September 16,2016 to respond. (A true and correct copy of the September 14,2016
                 10   letter is attached as "Exhibit 3").
                 11
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¿<               l2              26.   Yankon continues to do nothing to eliminate consumer confusion or
      .iç. 1
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      i +P,t=    13   the harm to ALI.
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u')              15              27.   On the contrary, despite   ALI's numerous efforts to contact Yankon to
                 I6   work out a viable solution, Yankon not only ignored ALI's requests but it released
                 t7   the entire line of inaccurately labeled lighting products and continues to ship said
                 18   products to Lowe's.
                 19

                 20                                     Fmsr Curnr Fon Rnlmp
                 2l                          or iolation of the Lanham Act     15         11

                 22

                 ¿J              28.   ALI   and Yankon are direct competitors in the lighting market.
                 24   Yankon' misappropriation and unauthorized use of the design and name Yankon's
                 25   packaging has deceived and misled the public and is likely to continue to cause
                 26   confusion, deception and/or mistake as to the association or affiliation of ALI and
                 27   Yankon.
                 2B


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                                                                    -6-                             COMPLAIN'I
                         Case 5:16-cv-02173-JFW-SP Document 1 Filed 10/13/16 Page 7 of 19 Page ID #:7


                           1              29.         Yankon has also sought to mislead consumers and competitors and to
                          2    inhibit competition by improperly utilizing ALI's design, packaging and toll free
                          a
                          J    number.

                          4

                          5               30.         Yankon' conduct is unfair competition actionable pursuant to       15

                          6    lJ.S.C. $ 1 125(a) and common law. Yankon's unfair practices have been willful.
                          7

                          8               3   1   .   ALI is entitled to injunctive relief   and damages, including

                          9    disgorgement of Yankon' ill*gotten profits.
                         10

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                         11               32.         ALI is suffering irreparable harm to its reputation   and good   will in the
L¡]               i-
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        i.     {t':      t2    lighting industry as a result of the Yankon's actions.
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                   :     15                                            (For Unfair Competition)
                         16

                         17               33.         ALI   and Yankon are direct cornpetitors in the lighting market.
                         18    Yankon' misappropriation and unauthorized use of the design and name Yankon's
                         I9    packaging has deceived and misled the public and is likely to continue to cause
                         20    confusion, deception and/or mistake as to the association or affiliation of ALI and
                         2l    Yankon.
                         22

                         23               34.         Yankon has also sought to mislead consumers and competitors and to
                         24    inhibit cornpetition by irnproperly utilizing ALI's design, packaging and toll free
                         25    number.

                         26

                         27               35.         Yankon' conduct is unfair cornpetition actionable pursuant to, inter
                         28    alía,   15 IJ.S.C. $ 1125(a), Cal. Bus.         &Prof. Code $$ 17200, etseq., andcommon
                                                                                    "|                                 COMPLAINT
                               24991352
                         Case 5:16-cv-02173-JFW-SP Document 1 Filed 10/13/16 Page 8 of 19 Page ID #:8


                               I   law. Yankon's unfair practices have been willful
                               2

                               J              36.   ALI is entitled to injunctive relief and damages, including
                               4   disgorgement of Yankon' ill-gotten profits.
                               5

                               6              37.   ALI is suffering irreparable harm to its reputation   and good   will in the
                               7   lighting industry as a result of the Yankon's actions.
                               8

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                                              38.   ALI   has been in the lighting industry for the past 10 years and has a
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                          13       good reputation of manufacturing reliable and long-lasting lighting products in the
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J                         14       marketplace and amongst known retailers.
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                          t6                  39.   ALI   and Yankon are direct competitors in the lighting industry
                          T7

                          1B                  40.   ALI   has a business relationship not only with the general public but

                          t9       also with retailers of the lighting products, with the probability of future economic
                         20        benefrt for ALL
                         21

                         22                   41.   Yankon, knew or should have known that ALI has business
                         ./.   J   relationships with the general public and retailers of light products.
                         24

                         25                   42.   Yankon was made aware of rnistake of the packaging and the toll free
                         26        number and given ample opportunities to rernedy mistake. Yankon has
                         27        acknowledged the rnistake but continues to refuse to do anything to correct the
                         28        rnistake or to avoid consumer confusion regarding the source of its products.

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                                                                                    -8-                              COMPLAINT
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                   2         43.    Yankon's actions were the direct and proximate cause of the damages
                   a
                   J   to ALI's business, reputation and good will.
                   4

                   5          44.   ALI   is suffering irreparable harm to its reputation and good   will in the
                   6   lighting industry as a result of the Yankon's actions.
                   7

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                  10                                    (Quantum Meruitl
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      11          I2         45.    ALI   has performed services and incurred cost for designing the
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                  13   arlwork and preparing the packaging for the light products.
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              :   15         46.    Yankon improperly took ALI's artwork, packaging and toll free
                  I6   number as its own.
                  l7
                  18         47.    ALI   has requested that Yankon prevent the lighting products to enter

                  19   into commerce and to pay ALI the reasonable value of the costs it has incurred,
                  20   however Yankon refused, and permitted the lighting products to enter into
                  2l   corìmerce and continues to refuse to pay ALI for the services it has incurred.
                  22

                  23         48.    As a direct and proxirnate result of Yankon's failure to pay and failure
                  24   to rernediate, ALI suffered damages in an amount to be proven attrial.
                  25

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           Case 5:16-cv-02173-JFW-SP Document 1 Filed 10/13/16 Page 10 of 19 Page ID #:10


                1                                              PRnvnn
               2               Wherefore, Plaintiff ALI prays for judgment as follows:
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                4              1.    For a preliminary and permanent injunction against Yankon for selling
                5   lighting products with ALI's packaging, artwork and toll free number in the general
                6   public;
                7

                8              2.    For an accounting and award of actual damages sustained by ALI as a
                9   result of Yankon's improper usage of ALI's packaging, artwork and toll free
               10   number;

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               I2              3.    For an award of damages measured by Defendant Yankon, for the use
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               13   of ALI's packaging product and toll free number;
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               15              4.    For plaintiffs' attorneys fees and costs incurred in prosecution of this
               I6   action under, and up to treble damages pursuant to 15 U.S.C. $          11   17(a) ; and

               t7
               18              5.    For such other and further relief as this Court may deem just and
               t9   proper
               20
                    Dated            october 13,zotø                SNIELL & WILMER L.L.P.
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               22
                                                                    By
               23                                                        J
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               24                                                        A
                                                                                             LI           G INC.
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                     Case 5:16-cv-02173-JFW-SP Document 1 Filed 10/13/16 Page 11 of 19 Page ID #:11


                          1                                  DEMAND FORJURY TRIAL
                          2
                          a
                          J               Plaintiff Archipelago Lighting Inc. hereby demands trial by juty.
                          4

                          5   Dated:            October   ß ,20t6                SNELL & WILMER L.L.P
                          6

                          7                                                      By
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                                                                                      A           lainti ff,
                          9                                                                          LI GHTING INC
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                               trXHIBIT      1
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 Snell *k"\ililmer                                                                                                                                                            DlìNVtlR

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       213,929.7525 (Fm)                                                                                                                                                     TU()ON
                                                                        Ar"rgust       25,2016
        www,swli¡w,com

                                                                                                                                VIA FEDEX
                                                                                                                  CONFIRMATION VIA II]-MAIL:
                                                                                                                         cortact(Dyânko        n*   Ii   ghti   n g.   cotn

      Presidenl
    ' Yairkon Ligliting, Inc,
     1365 N. Clenvillp Drive
     Itichalcìson, TX 7508I

                 Re:        Kichler Products

     Dear Sir

             'fhis firm replescrlls Archipelago Lighting Inc. ("ALI")" ALI is a leader in bringing
     inlovative and safè lightirrg products to the market includìng manufacturing such produots fol:
     othcrs. ALI previousiy workeci with a well-knor,vn retailer to manufhcture replacetnent latnps
     unclcr thc registcred traclemark I{ICFILER. As part of this relationship, ALI expended significant
     resouroes to ¡rrocluce the prociuct and the packaging therefore,

              It has come to our attention that Yankon Lightirrg, lnc, alcl/<lr Zhej\ang Yankon Group
     Co,, Ltcl (hereinalÌter oollectively rcfcrred to as 'oYankon") is using A[,I's package design ancÏ
     artwork including ALI's t<¡11 lree cnstomel' service number thereon. Illease see the attached
     comparison of ALI's product packaging ancl the concernc<l product packaging fc¡r the Yankon
     procluct. Yankon's use of'A l.I's toll free customer servicc number has and oontinues to result in
     nuffterous calls fi'om consuffters rcgarcling issucs with the concerned produot. 'lhese calls are
     extremcly clisruptive to our Lrusiness .tncl are negatively impacting out'goodwill and cclnsumer
     reprLtation, Al-tcr reviewing, the concenlecl prclciuct, ALI has concen'ì with the base sleeve as it
     can be easily removecl or its position shiflcd. It may also be mistaken as protective packaging
     ancl discardect by consunlcrs, ln clur opiuion, this may crcate a shock hazard lvhen the electrifred
     metal base can bc tour:hecl direotly, We strongly recornmend that Yankon careftrl1y examine this
     Lrase and rnake its own cletet'minatiott <lf the risk.


             ln Iight ot'the discussion abovc and orr sal'ety concerns, we requit'e that Yanlcon
     immecliately cease and <losist lionr all sales of proclucts emanating fronl Y¿inkt:n using thc
     packaging crcatecl by ALI bearing AI-,['s to]l fi'ee customer service nuntlrer, Moreovcr, we
     require Yankon tcl rem<¡ve all sur:h products fiom the markctplace atrcl oontaot its custc¡mers to
     whom Yankon has sold such proclucts.




                                  SilDll & \ryilnler rs a monrh(jr of t.l.ÌX N4UNì)l,.tlìe t-eirdrng Assocralron of lndopeildent L¡lw Firrìs
Case 5:16-cv-02173-JFW-SP Document 1 Filed 10/13/16 Page 14 of 19 Page ID #:14


Snell 'å. Tililrner
         t,,L.P




     Ilresi(lent
     Yankon I,ighting, Inc.
     August 25,2t16




                  Next, wc recluirc Yankon to provicle us wilh the fullowing infirrmation

                            'l'hc idcntity of thc sourcc inclucling name, acidress and contact inf'ormation of
                            eaoh anci every rranLrfacturer Yankon used to manul'acture the cotrcernecl
                            product and any other produots bearing AI-J's toll fiee oustomer set'vice
                            (herei naf'ter" "(,1olrcerned Prr:ducl.s")   ;


                  1
                  L         'l'otal quantity of'the Concerned Proclucts manufacturccl and thc total quantity
                            clf the Conccrnecl Products solci at any time r.rp to ancl incluciing the prescnt auci
                            the i<lentity of each an<1 every printer, wholesaler anrl manufàcturer involvecl in
                            the manufacturirrg ¿rnd/or distributing of the Concemed Products;

                  .)        'l'otal quantity of the Conccrnecl Products sold at any time up to ancl including
                            1|vq: prcsent and the identity of'o¿¡clr and every wholesalel, clistrillutor and
                            retailer that purchasecl the Concelned Products; ant.l

                  4         'l'ilc total number of the Concenrecl Products Yanlçon has remaitring in
                            invcntory

               'l'his inl'ounation musi be proviclccl wìth thc agoonlpanying clocumcntation iriolricling
     specilic procluct clcscriptions ancl SI(Us f:br cach producl m¿rnufactured by Yankon bearing A[,I's
     toll flree ctrstomcr sen,icc uulntrer.

              I)ue to the gravìty o1'this situation, plcase enslrre that Yankon contacts all customcrs lo
     whom it has solcl the Concernecl Products to aclvise thcm of this claim and instruct thenr to
     immctliately re.tì1ove the Concernecl Ploclucts frorn the lloor aucl/ol tnarketplace. Plcase note 1llal.
     continr"tccl sales afÌer bcing plrt on nolice of this clairn will be dealt with accordingly,
Case 5:16-cv-02173-JFW-SP Document 1 Filed 10/13/16 Page 15 of 19 Page ID #:15


Snell   i>¿   tX/ilrner
          L,L,P




    President
    Yankon l,ighting, Inc
    August 25,2016


            Within live (5) days of the date of this correspondenoe, we require Yanlton plovidc its
    writtcn acquiescence to thc above notect clemands. At that time, we also require Yankon to
    provicle the reclnesied inforrnation and to produoe thc requested documentation.

                  'I'hank you and we look f'orward to y<nrr timely reply

                                         Very truly youls,

                                         S¡tall & Wtt t'¿un L.L.P.




                                         Dax Alvarez


    DA/jrp
    Hnciosure

    cc;   r       Scott McCiuire (srnoguire@paokagingcorp,com)
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